5844 (Rev.06/17 Case 6:20-cv-00699 A OG ER San T 07/30/20 Page 1 of 1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
NCS Multistage Inc.

DEFENDANTS

Allamon Tool Company, Inc.

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Domingo M. LLagostera (Blank Rome LLP)
717 Texas Avenue, Suite 1400, Houston TX 77002

(713) 632-86282

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government 2&3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ol 1 Incorporated or Principal Place o4 04

of Business In This State

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O 2 US. Government O14 Diversity Citizen of Another State O 2 O 2 Incorporated and Principal Place Oo 5 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a Oo 3 O 3. Foreign Nation Oo6 O86
Foreign Country
IV. NATURE OF SUIT (lace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
1 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure 1 422 Appeal 28 USC 158 01 375 False Claims Act
1 120 Marine 1 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 0 376 Qui Tam (31 USC
1 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
1 140 Negotiable Instrument Liability 1 367 Health Care/ 1 400 State Reapportionment
1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 0 430 Banks and Banking
1 151 Medicare Act 01 330 Federal Employers’ Product Liability > 830 Patent O01 450 Commerce
1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal 1 835 Patent - Abbreviated 1 460 Deportation
Student Loans 01 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 01 345 Marine Product Liability O1 840 Trademark Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY 480 Consumer Credit
of Veteran’s Benefits 01 350 Motor Vehicle O01 370 Other Fraud 0 710 Fair Labor Standards 1 861 HIA (1395ff) 1 490 Cable/Sat TV
1 160 Stockholders’ Suits 01 355 Motor Vehicle 0 371 Truth in Lending Act 1 862 Black Lung (923) 1 850 Securities/Commodities/
1 190 Other Contract Product Liability 1 380 Other Personal 01 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
1 195 Contract Product Liability | 360 Other Personal Property Damage Relations 1 864 SSID Title XVI O 890 Other Statutory Actions
1 196 Franchise Injury 1 385 Property Damage 01 740 Railway Labor Act 1 865 RSI (405(g)) 0 891 Agricultural Acts
01 362 Personal Injury - Product Liability 1 751 Family and Medical 1 893 Environmental Matters
Medical Malpractice Leave Act 01 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _| 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement 1 870 Taxes (USS. Plaintiff 1 896 Arbitration
1 220 Foreclosure 0 441 Voting 1 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
1 230 Rent Lease & Ejectment O01 442 Employment 1 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
1 240 Torts to Land 01 443 Housing/ Sentence 26 USC 7609 Agency Decision
1 245 Tort Product Liability Accommodations 1 530 General 1 950 Constitutionality of
1 290 All Other Real Property 01 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 01 462 Naturalization Application
O01 446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration
Other 01 550 Civil Rights Actions
1 448 Education 01 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
1. Original 2 Removed from O 3  Remanded from O 4 Reinstatedor O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION 28 U.S.C. §§ 13311338
° Brief description of cause:
Patent infringement
VII. REQUESTED IN (11 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes No
VIII. RELATED CASKE(S) (See insruct 6:20-cv-700; 6:20-cv-701
‘ee instructions): .
IF ANY *” supe. Judge Albright DOCKET NUMBER 6:20-cv-277;6:20-cv-622
DATE SIGNATURE OF ATTORNEY OF RECORD
07/30/2020 /s/ Domingo M. LLagostera
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
